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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


 DANIEL ANACACY,                                     Case No. 2:19-cv-07126-ENV-RLM

                       Plaintiff,

        v.                                           DECLARATION OF DENA B. CALO

 PANERA, LLC, DOHERTY ENTERPRISES,
 INC., DOHERTY BREADS, LLC and JOHN
 DOE,

                       Defendants.


        DENA B. CALO, an attorney duly authorized to practice law before this Court and the

 courts of the State of New York, hereby declares under penalty of perjury pursuant to 28 U.S.C.

 § 1746:

        1.      I am a partner at the law firm of Saul Ewing Arnstein & Lehr LLP, attorneys for

 Defendants Panera, LLC, The Doherty Group, Inc. d/b/a Doherty Enterprises (improperly pled as

 “Doherty Enterprises, Inc.”), Doherty Breads, LLC and the individual identified in Plaintiff

 Daniel Anacacy’s (“Plaintiff”) Complaint as John Doe.

        2.      I submit this Declaration in support of the Defendants’ Motion to Dismiss

 Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

        3.      The Court should grant the Defendants’ Motion for the reasons set out in the

 attached Memorandum of Law, and for any reasons set out in Defendants’ Reply.

        WHEREFORE, Defendants respectfully request that the Court (1) grant the Defendants’

 Motion; (2) dismiss with prejudice Plaintiff’s Complaint against Defendants Panera, LLC, The

 Doherty Group, Inc. d/b/a Doherty Enterprises (improperly pled as “Doherty Enterprises, Inc.”)

 and Doherty Breads, LLC; (3) dismiss without prejudice Plaintiff’s Complaint against Defendant

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 John Doe; and (4) provide any such other and further relief that may be just and proper.

 Dated: April 17, 2020

                                              /s/ Dena B. Calo
                                              Dena B. Calo, Esquire
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